         Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 1 of 19




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-125
               v.                             :
                                              :
BRIAN MCCREARY                                :
                                              :
                       Defendant.             :


     UNITED STATES’ MEMORANDUM REGARDING STATUS OF DISCOVERY

       The United States files this memorandum for the purpose of describing the status of

discovery. As an initial matter, substantial discovery has already been provided in this case.

However, as set forth below, because the defendant’s criminal acts took place at the same

general time and location as many other charged crimes, the government’s investigation into the

breach of the United States Capitol on January 6, 2021 (the “Capitol Breach”) has resulted in the

accumulation and creation of a massive volume of data that may be relevant to many defendants.

The government is diligently working to meet its unprecedented overlapping and interlocking

discovery obligations by providing voluminous electronic information in the most

comprehensive and useable format.

                                       The Capitol Breach

       On January 6, 2021, as a Joint Session of the United States House of Representatives and

the United States Senate convened to certify the vote of the Electoral College for the 2020 U.S.

Presidential Election, a mob stormed the U.S. Capitol by breaking doors and windows and

assaulting members of law enforcement, as others in the crowd encouraged and assisted those

acts. Thousands of individuals entered the U.S. Capitol and U.S. Capitol grounds without

authority, halting the Joint Session and the entire official proceeding of Congress for hours until

the United States Capitol Police (“USCP”), the Metropolitan Police Department (“MPD”), and
         Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 2 of 19




other law enforcement agencies from the city and surrounding region were able to clear the

Capitol of rioters and to ensure the safety of elected officials. This event in its entirety is

hereinafter referred to as the “Capitol Breach.”

         The defendant is currently charged by indictment with one count each of Obstruction of

an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2) and (2) (aiding and abetting),

Entering and Remaining in a Restricted building or Grounds in violation of 18 U.S.C. §

1752(a)(1), Disorderly and Disruptive Conduct in a Restrict Building or Grounds in violation of

18 U.S.C. § 1752(a)(2), Disorderly Conduct in the Capitol Building in violation of 40 U.S.C. §

5104(e)(2)(D), and Parading, Demonstrating, or Picketing in a Capitol Building in violation of

40 U.S.C. § 5104(e)(2)(G).


                                       Scope of Investigation

        The investigation and prosecution of the Capitol Breach will be the largest in American

history, both in terms of the number of defendants prosecuted and the nature and volume of the

evidence. In the six months since the Capitol was breached, over 500 individuals located

throughout the nation have been charged with a multitude of criminal offenses, including but not

limited to conspiracy, tampering with documents or proceedings, destruction and theft of

government property, obstruction of law enforcement during civil disorder, assaults on law

enforcement, obstruction of an official proceeding, engaging in disruptive or violent conduct in

the Capitol or on Capitol grounds, and trespass. There are investigations open in 55 of the

Federal Bureau of Investigation’s 56 field offices.




                                                   2
         Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 3 of 19




                              Voluminous Materials Accumulated

       The government has accumulated voluminous materials that may contain discoverable

information for many, if not all, defendants. An illustrative list of materials accumulated by the

government includes:

           o Thousands of hours of closed circuit video (“CCV”) from sources including the
             USCP, MPD, and United States Secret Service, and several hundred MPD
             Automated Traffic Enforcement camera videos;

           o Footage from Cable-Satellite Public Affairs Network (C-SPAN) and other
             members of the press;

           o Thousands of hours of body worn camera (“BWC”) footage from MPD, Arlington
             County Police Department, Montgomery County Police Department, Fairfax
             County Police Department, and Virginia State Police;

           o Radio transmissions, event chronologies, and, to a limited extent, Global
             Positioning Satellite (“GPS”) records for MPD radios;

           o Hundreds of thousands of tips, including at least 237,000 digital media tips;

           o Location history data for thousands of devices present inside the Capitol (obtained
             from a variety of sources including two geofence search warrants and searches of
             ten data aggregation companies);

           o Subscriber and toll records for hundreds of phone numbers;

           o Cell tower data for thousands of devices that connected to the Capitol’s interior
             Distributed Antenna System (DAS) during the Capitol Breach (obtained from the
             three major telephone companies);

           o A collection of over one million Parler posts, replies, and related data;

           o A collection over one million Parler videos and images (approximately 20
             terabytes of data);

           o Damage estimates from multiple offices of the U.S. Capitol;

           o A multitude of digital devices and Stored Communication Act (“SCA”) accounts;
             and




                                                 3
         Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 4 of 19




           o Responses to grand jury subpoenas, of which over 6,000 have been issued,
             seeking documents such as financial records, telephone records, electronic
             communications service provider records, and travel records.

We are still collecting and assembling materials from the numerous entities who were involved

in the response to the Breach, and we are still investigating – which means the amount of data

(phones, devices, legal process, investigative memoranda) is growing.

                   Voluminous Legal Process and Investigative Memoranda

       In addition to the materials collected, tens of thousands of documents have been

generated in furtherance of the investigation, to include interviews of subjects, witnesses, tipsters

and officers; investigations into allegations concerning officer conduct on January 6; source

reports; evidence collection reports; evidence analysis reports; chain-of-custody documents;

legal documents including preservation letters, subpoenas, 2703(d) orders, consent forms, and

search warrants; and memoranda of investigative steps taken to evaluate leads or further

investigations.

                               Interrelated Crimes and Discovery

       The Capitol Breach involves thousands of individuals inside and outside the Capitol,

many of whom overwhelmed and assaulted police. (According to a Washington Post analysis of

the events, “the mob on the west side eventually grew to at least 9,400 people, outnumbering

officers by more than 58 to one.”) See

https://www.washingtonpost.com/investigations/interactive/2021/dc-police-records-capitol-

riot/?itid=sf_visual-forensics. The cases clearly share common facts, happening in generally the

same place and at the same time. Every single person charged, at the very least, contributed to

the inability of Congress to carry out the certification of our Presidential election.




                                                  4
         Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 5 of 19




       These circumstances have spawned a situation with overlapping and interlocking

discovery obligations. Many defendants may be captured in material that is not immediately

obvious and that requires both software tools and manual work to identify, such as video and

photos captured in the devices and SCA accounts of other subjects. Accordingly, the defense is

generally entitled to review all video or photos of the breach whether from CCV, BWC or

searches of devices and SCA accounts. Notably, we have received a number of defense requests

for access to such voluminous information, and requests for the government to review the

entirety of the law enforcement files related to this investigation. For example, in support of a

motion to compel access to all of the footage, one such counsel stated:

       The events of January 6, 2021 were memorialized to an extent rarely, if ever,
       experienced within the context of federal criminal cases. The Government itself
       has a wealth of surveillance video footage. Virtually every attendee in and around
       the Capitol on January 6, 2021 personally chronicled the events using their iPhone
       or other similar video device. Many of the attendees posted their video on one or
       more social media platforms. Many held their videos close to their vests resulting
       in little if any publication of same. News media outlets from around the world
       captured video footage. Independent media representative from around the world
       captured video footage. Intelligence and law enforcement personnel present at the
       Capitol on January 6, 2021 also captured video footage of events of the day. By
       the Government’s own admission, the Government has an overwhelming amount
       of video footage of the events of January 6, 2021. During the handlings of January
       6 cases, the Government has garnered and continues to garner access to added
       video footage from, among other sources, the general public and the defendants
       themselves. Upon information and belief, the Government is not capable of
       vetting, cataloging and determining materiality of the video footage such as to
       ensure that disclosure of same is timely made in all cases to which the footage is
       material for disclosure purposes. The “information and belief” in this regard is a
       function of the undersigned counsel’s personal knowledge relative to footage
       given to the Government, familiarity with other January 6 cases both as counsel
       for other January 6 defendants and as counsel familiar with other counsel
       representing January 6 defendants and the understanding that the footage provided
       to the Government does not appear to have been produced to other defendants
       whose cases warrant similar disclosure by the Government of material evidence.
       Defendant has requested the Government confirm whether there is a single
       repository for all video footage amassed relative to the events at the Capitol on
       January 6, 2021 and, further, has requested access to same for inspection and



                                                 5
         Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 6 of 19




       examination for determination of materiality and disclosure of the
       Government’s protocol to determine materiality.

United States v. Jacob Chansley, 21-cr-00003 (RCL) (Document No. 58)(emphasis added).

Examples of additional similar discovery requests we have received in Capitol Breach cases are

quoted in Exhibit A, attached hereto.

                           Early Establishment of Discovery Team

       Shortly after the Capitol Breach, the U.S. Attorney’s Office established a Capitol Breach

Discovery Team to create and implement a process for the production of discovery in January 6

cases. The Discovery Team is staffed by federal prosecutors who have experience in managing

complex investigations involving voluminous materials, Department of Justice experts in project

management and electronic discovery management, and a lead discovery agent from the Federal

Bureau of Investigation. Members of the Discovery Team consult regularly with Department of

Justice subject matter experts, including Associate Deputy Attorney General and National

Criminal Discovery Coordinator Andrew Goldsmith. As discussed further below, members of

the Discovery Team also meet and confer on a regular basis with Federal Public Defender

(“FPD”) leadership and electronic discovery experts.

                    Recognition of Need for Vendor Promptly Addressed

       Following the Capitol Breach, the United States recognized that due to the nature and

volume of materials being collected, the government would require the use of an outside

contractor who could provide litigation technology support services to include highly technical

and specialized data and document processing and review capabilities. The government drafted

a statement of work, solicited bids, evaluated them, and selected a vendor. This was an

unprecedented undertaking which required review at the highest levels of the Department of

Justice and was accomplished as quickly as possible.

                                                6
         Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 7 of 19




       On or about May 28, 2021, the government contracted Deloitte Financial Advisory

Services, LLP (“Deloitte”), a litigation support vendor with extensive experience providing

complex litigation technology services, to assist in document processing, review and production

of materials related to the Capitol Breach. As is required here, Deloitte furnishes secure,

complex, and highly technical expertise in scanning, coding, digitizing, and performing optical

character recognition – as well as processing, organizing, and ingesting a large volume of

Electronically Stored Information (“ESI”) and associated metadata in document review platforms

– which is vital to the United States’ ability to review large data/document productions and is

essential to our ability to prosecute these cases effectively.

                            Implementation of Contract with Deloitte
       We have already begun transferring a large volume of materials to Deloitte (as of July 7,

2021, over 200 disks of data and 34,000 USCP records), who is populating the

database. Specific processing workflows and oversight are being established between the United

States Attorney’s Office and the vendor. We have already coordinated with Deloitte to use

various tools to identify standard categories of Personal Identifying Information (“PII”) and to

redact them. Once the database is accessible, we will begin systematically reviewing materials

for potentially discoverable information, tagging when possible (e.g., video by a location or type

of conduct, interviews describing a particular event), and redacting when necessary. Among

other things, the vendor is also building a master evidence tracker to assist us in keeping records

of what is provided to us and what is ultimately produced, which is part of our approach to a

defensible discovery protocol.




                                                  7
         Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 8 of 19




                         Systematic Reviews of Voluminous Materials

       We are implementing and continuing to develop processes and procedures for ensuring

that voluminous materials have been and will continue to be systematically reviewed for

information that, inter alia, may be material to the defense, e.g.:

           o Comparing all known identifiers of any charged defendant against tips, Parler
             data, ad tech data, cell tower data, and geofence data; and

           o Searching all visual media (such as CCV, BWC, social media or device search
             results) – the collection of which grows on a regular basis – against known images
             of charged defendants.


                               Certain Specific Defense Requests
       Multiple defense counsel have inquired about investigations into officers who were

alleged to have been complicit in the January 6 Capitol Breach. We have received copies of

investigations into officer conduct, have finished reviewing them, and plan to disclose the

relevant materials shortly.

                                   Discovery Already Provided

       Exhibit B, attached, documents the discovery that has been provided in this case to date.

Per the Exhibit B, the government has disclosed 886 files to the defense, with the second round

of production currently in-process.

       We have also already arranged six opportunities for defense counsel and an investigator

to walk through the crime scene, which required the USCP to obtain the approval of many

different Congressional offices to obtain access to various areas that are relevant to the charges

being brought.

                          Complexities Require Careful Consideration

       Producing discovery in a meaningful manner and balancing complex legal-investigative

and technical difficulties takes time. We want to ensure that all defendants obtain meaningful

                                                  8
         Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 9 of 19




access to voluminous information that may contain exculpatory material, and that we do not

overproduce or produce in a disorganized manner. That means we will review thousands of

investigative memoranda, even if there is a likelihood they are purely administrative and not

discoverable, to ensure that disclosures are appropriate.

                                Legal-Investigative Considerations

       We must also carefully ensure we are adequately protecting the privacy and security

interests of witnesses and subjects from whom those materials were derived. For example, we

cannot allow a defendant’s PII to be disseminated – without protection – to hundreds of others.

Similarly, we cannot allow personal contact information for Congressional members, staffers,

and responding police officers – targets and victims of these crimes – whose phones may have

connected to the Capitol’s DAS network to inadvertently be produced. We also must protect

Law Enforcement Sensitive materials by ensuring they are carefully reviewed for discoverability

and, if they are discoverable, that they are disclosed in an appropriate manner. We continue to

develop workable paradigm for disclosing a vast amount of Capitol CCV while ensuring that the

Capitol’s security is maintained. We are also scrupulously honoring defendants’ attorney-client

privilege by employing a filter team that is continually reviewing devices and accounts for

potentially privileged communications.

                                  Technological Considerations

       A large volume of the information that has been collected consists of ESI. ESI frequently

contains significant metadata that may be difficult to extract and produce if documents are not

processed using specialized techniques. Metadata is information about an electronic document

and can describe how, when and by whom ESI was created, accessed, modified, formatted, or

collected. In the case of a document created with a word processing program, for example,



                                                 9
        Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 10 of 19




metadata may include the author, date created, and date last accessed. In the case of video

footage, metadata may identify the camera that was used to capture the image, or the date and

time that it was captured. Metadata may also explain a document’s structural relationship to

another document, e.g., by identifying a document as an attachment to an investigative

memoranda.

       Processing, hosting, and production of the voluminous and varied materials described

above, to include the preservation of significant metadata, involves highly technical

considerations of the document’s source, nature, and format. For example, the optimal type of

database for hosting and reviewing video footage may differ from the optimal type of database

for hosting investigative memoranda. Similarly, a paper document, a word processing document,

a spreadsheet with a formula, video footage from a camera, or video footage associated with a

proprietary player may each require different types of processing to ensure they are captured by

database keyword searches and produced with significant metadata having been preserved.

                  Involving Defense Counsel in Voluminous Discovery Plan

       The Discovery Team regularly meets with FPD leadership and technical experts with

respect to discovery issues. Given the volume of information that may be discoverable, FPD is

providing input regarding formats that work best with the review tools that Criminal Justice Act

panel attorneys and Federal Defender Offices have available to them. Due to the size and

complexity of the data, we understand they are considering contracting with third party vendors

to assist them (just as the United States Attorney’s Office has done for this matter). So as to save

defense resources and to attempt to get discovery more quickly to defense counsel, there were

efforts made to see if FPD could use the same vendor as the United States Attorney’s Office to

set up a similar database as the government is using for reviewing the ESI, but for contractual



                                                 10
          Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 11 of 19




and technical reasons we have recently learned that was not feasible. We are in the on-going

process of identifying the scope and size of materials that may be turned over to FPD with as

much detail as possible, so that FPD can obtain accurate quotes from potential database

vendors. It is hoped that any databases or repositories will be used by FPD offices nationwide

that are working on Capitol Breach cases, counsel that are appointed under the Criminal Justice

Act, and retained counsel for people who are financially unable to obtain these services. A

database will be the most organized and economical way of ensuring that all counsel can obtain

access to, and conduct meaningful searches upon, relevant voluminous materials, e.g., thousands

of hours of body worn camera and Capitol CCV footage, and tens of thousands of documents,

including the results of thousands of searches of SCA accounts and devices.

      Compliance with Recommendations Developed by the Department of Justice and
    Administrative Office of the U.S. Courts Joint Working Group on Electronic Technology

         As is evidenced by all of the efforts described above, the United States is diligently

working to comply with the Recommendations for Electronically Stored Information (ESI)

Discovery Production developed by the Department of Justice and Administrative Office of the

U.S. Courts Joint Working Group on Electronic Technology in the Criminal Justice System in

February 2012. 1 See https://www.justice.gov/archives/dag/page/file/913236/download. For

example, we are: (1) including individuals with sufficient knowledge and experience regarding




1
 These Recommendations are explicitly referenced in the Advisory Committee Note to Rule
16.1. Importantly, the two individuals primarily responsible for developing the
Recommendations are Associate Deputy Attorney General Andrew Goldsmith, who (as noted
earlier) is working closely with the prosecution’s Discovery Team, and Sean Broderick, the
FPD’s National Litigation Support Administrator, who is playing a similar role for the D.C.
Federal Defender’s Office on electronic discovery-related issues. Messrs. Goldsmith and
Broderick have a long history of collaborating on cost-effective ways to address electronic
discovery-related issues, which undoubtedly will benefit all parties in this unprecedented
undertaking.
                                                  11
              Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 12 of 19




      ESI; (2) regularly conferring with FPD about the nature, volume and mechanics of producing

      ESI discovery; (3) regularly discussing with FPD what formats of production are possible and

      appropriate, and what formats can be generated and also maintain the ESI’s integrity, allow for

      reasonable usability, reasonably limit costs, and if possible, conform to industry standards for the

      format; (4) regularly discussing with FPD ESI discovery transmission methods and media that

      promote efficiency, security, and reduced costs; and (5) taking reasonable and appropriate

      measures to secure ESI discovery against unauthorized access or disclosure.

                                                    Respectfully submitted,

                                                    CHANNING D. PHILLIPS
                                                    Acting United States Attorney
                                                    DC Bar No. 415793


                                            By:          /s/
                                                    BRANDON K. REGAN
                                                    Assistant United States Attorney
                                                    555 Fourth Street, N.W.
                                                    Washington, DC 20530
                                                    Brandon.regan@usdoj.gov
                                                    (202) 252-7759



By:           /s/                                        By:          /s/
         EMILY A. MILLER                                        GEOFFREY A. BARROW
         Capitol Breach Discovery Coordinator                   Capitol Breach Discovery Team, Detailee
         DC Bar No. 462077                                      DC Bar No. 462662
         555 Fourth Street, N.W., Room 5826                     1000 Southwest Third Avenue, Suite 600
         Washington, DC 20530                                   Portland, Oregon 97204
         Emily.Miller2@usdoj.gov                                Geoffrey.Barrow@usdoj.gov
         (202) 252-6988                                         (503) 727-1000




                                                      12
                           Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 13 of 19

                                                         EXHIBIT A
                                       Additional Examples of Defense Discovery Requests
1    “Videos in the government's possession that filmed the interior of the capital building from approximately 2:50 PM to 3:35 PM on
     January 6, 2021.”
2    “[A]ll photographs or video footage obtained or confiscated by the government from outside sources during the investigation of
     this case are material to the defense’s preparation.”
3    “Our position is that the government must identify any evidence it believes to capture [defendant], regardless of whether it intends
     to rely on the same in its case in chief.”
4    “Copies of any and all documents, photographs, and video received by the U.S. Attorney’s office and/or Metropolitan Police
     Department or any other law enforcement agency from any law enforcement officer or prosecutor from any other jurisdiction
     regarding this case.”
5    “I write to request that the United States review the contents of the FBI’s “I” drive and disclose any and all exculpatory evidence
     identified therein.”
6    “Network news outlets aired footage of one or more Officers directing protestors towards doors and seemingly invited them to
     enter the building -- this is Brady material for our clients.”
7    “The discovery I'm requesting is all video and/or audio footage in which Capitol Police and any other Gov't officials or agents
     remove barriers and/or interact with protestors who entered the Capitol or gained access to the patios or other structures connected
     to the Capitol building complex.”
8    “This request also includes any video footage, including from cameras owned by MPD (crime and red light) and DDOT (which are
     operated and maintained by MPD, and to which MPD has access), as well as any footage that government actors reviewed. This
     request also includes any video footage from MPD District where the defendant was taken, and all body worn camera footage that
     may have captured any portion of the alleged incident, investigation or arrest of my client.”

     “The request includes all Body Worn Camera (BWC) footage from all offices involves in any and all searchers, arrests, and
     investigations associated with this case and/ or labels with the CCN Number associated with this case; information that will permit
     undersigned counsel to identify the officer wearing the BWC; metadata related to any and all BWC footage; information from the
     AUSA’s office and/or MPD specifying any edits or redactions made to the footage and the corresponding justifications. Please also
     provide the access logs for the BWC footage for any and all officers involved in this case.”
9    “All photographs, including those of the defendant, sketches, diagrams, maps, representations or exhibits of any kind, that
     relate to this case, regardless of whether the government intends to introduce them in its case-in-chief . . .Including all video
     recordings related to the January 6, 2021 events.”
10   “I further request that you review all documentation related to or generated in connection with this case that may be outside of the
     government’s official case file (e.g., materials in the FBI’s “I-Drive” or other similar repositories of investigation documents in the
     possession of federal or local agencies or law enforcement authorities.”


                                                                                                                                        1
                           Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 14 of 19

                                                         EXHIBIT A
                                       Additional Examples of Defense Discovery Requests
11   “Any evidence (whether or not reduced to writing) that law enforcement or Capitol employees allowed any protestors into the
     building. Such evidence might include (without limitation) moving barricades, opening doors, instructing protestors they could
     enter, failing to intervene when protestors entered, etc…”
12   “Any evidence that concerns any Capitol police officers who were suspended and/or disciplined for removing barriers, opening
     doors, etc. on January 6th.”
13   “I am also concerned about the thousands or tens of thousands videos the government has received from public sources,
     particularly how the government is searching, indexing, and storing these videos, and whether the government is withholding any
     video footage in its possession; Based on my review of the discovery thus far, there is official video surveillance and publicly
     sourced video footage that is exculpatory to the defendants. Many of those videos show [defendant] and other[s] peacefully
     walking around the Capitol. In these videos, they, like thousands of others, are doing nothing illegal with the possible exception of
     being present in the building, all of which is potentially exculpatory.”
14   “All information regarding any Capitol Police, MPD, National Guard, other law enforcement officer or other person in position of
     authority ("LEOs") who moved guard rails, opened or held doors open, stepped aside, allowed persons to enter or stay within the
     Capitol or otherwise did not direct, instruct or signify to the public -- implicitly or explicitly -- to vacate the Capitol or that the
     Capitol was closed to the public or restricted for public entry.”
15   “Any audio or video footage of [defendant] relevant to any of the charges in the indictment that has not previously been provided,
     whether captured by body-cameras worn or phones carried by Metropolitan Police Department officers, by body-cameras worn or
     phones carried Capitol Police officers, or by phones or other recording devices carried by any other witness.”
16   “For purposes of this letter, all photographs or video footage obtained or confiscated by the government from outside sources
     during the investigation of this case are material to the defense’s preparation. Please provide notice of any decision not to produce
     requested photographs, video footage, or recorded communications so that a judicial decision as to production may, if warranted,
     be sought. Please also provide all photographs, video footage, and recorded communications relating to the Brady and Giglio
     requests articulated below.”




                                                                                                                                        2
                                                             EXHIBIT B23 Filed 07/12/21 Page 15 of 19
                                   Case 1:21-cr-00125-BAH Document
                                                       McCreary 21‐cr‐125, McCreary_Volume01


 VOLUME       SENSITIVE HIGHLY SENSITIVE BEGINBATES        ENDBATES          PAGECOUNT                              DESCRIPTION
                                                                                         (U//FOUO) TTK Review ‐ Public Tip submitted through
McCreary_01                    x         CAP02_000010755 CAP02_000010756            2
                                                                                         http://www.fbi.gov/USCapitol
McCreary_01      x                       CAP02_000010757   CAP02_000010763          7    (U) OPENING EC ‐ Full Investigation
McCreary_01                              CAP02_000010764   CAP02_000010765          2    (U//FOUO) 135 Cliff Street Surveillance
McCreary_01                              CAP02_000010766   CAP02_000010766          1    (U//FOUO) IMG_0114.jpeg
McCreary_01                              CAP02_000010767   CAP02_000010767          1    (U//FOUO) IMG_0117.jpeg
McCreary_01                              CAP02_000010768   CAP02_000010768          1    (U//FOUO) IMG_0115.jpeg
McCreary_01                              CAP02_000010769   CAP02_000010769          1    (U) IMG_0113.jpeg
McCreary_01                              CAP02_000010770   CAP02_000010770          1    (U//FOUO) IMG_0116.jpeg
McCreary_01      x                       CAP02_000010771   CAP02_000010772          2    (U) Interview of XXXXX XXXXXX
McCreary_01      x                       CAP02_000010773   CAP02_000010774          2    (U) Agent Notes XXXXX XXXXXX.pdf
McCreary_01                              CAP02_000010775   CAP02_000010775          1    (U) USA Today Photograph.jpg
McCreary_01      x                       CAP02_000010776   CAP02_000010776          1    (U//FOUO) Brian McCreary Subject Detail Report
McCreary_01      x                       CAP02_000010777   CAP02_000010782          6    (U//FOUO) Brian McCreary Subject Detail Report
McCreary_01      x                       CAP02_000010783   CAP02_000010788          6    (U//FOUO) McCreary_Brian_Subject_Detail_Report.docx
McCreary_01                              CAP02_000010789   CAP02_000010789          1    (U//FOUO) Google Preservation Letter
                                                                                         (U//FOUO) Google_Preservation_Letter_‐
McCreary_01                              CAP02_000010790 CAP02_000010791            2
                                                                                         _Brian_McCrearysigned.pdf
McCreary_01                              CAP02_000010792   CAP02_000010793          2    (U//FOUO) Brian McCreary Records Checks
McCreary_01                              CAP02_000010794   CAP02_000010795          2    (U//FOUO) 135 CLIFF FIREARMS.pdf
McCreary_01                              CAP02_000010796   CAP02_000010796          1    (U//FOUO) Mccreary_Photo.jpg
McCreary_01                              CAP02_000010797   CAP02_000010801          5    (U//FOUO) MCCREARY, BRIAN.pdf
McCreary_01                              CAP02_000010802   CAP02_000010803          2    (U//FOUO) Brian_Mccreary_Results.docx
                                                                                         (U//FOUO) To document the capture of a photograph of Brian
McCreary_01                              CAP02_000010804 CAP02_000010805            2
                                                                                         McCreary from a USA Today New Article
McCreary_01                              CAP02_000010806 CAP02_000010806            1    (U//FOUO) usatoday.txt
                                                                                         (U//FOUO) 52169b7b‐9379‐4d8c‐a827‐7263aab635e7‐
McCreary_01                              CAP02_000010807 CAP02_000010807            1
                                                                                         AFP_AFP_8YA6MQ.jpg
McCreary_01      x                       CAP02_000010808   CAP02_000010809          2    (U//FOUO) Complaints against McCreary
McCreary_01      x                       CAP02_000010810   CAP02_000010814          5    (U//FOUO) 0176‐WF‐3366759‐Intake_0001144.pdf
McCreary_01      x                       CAP02_000010815   CAP02_000010815          1    (U//FOUO) 0176‐WF‐3366759‐Intake_0001428.pdf
McCreary_01      x                       CAP02_000010816   CAP02_000010816          1    (U//FOUO) 0176‐WF‐3366759‐Intake_0004596.pdf
                                                                                         (U//FOUO) 0176‐WF‐3366759‐
McCreary_01      x                       CAP02_000010817 CAP02_000010817            1
                                                                                         Intake_0004596_1A0002508_0000001.jpeg
                                                                                         (U//FOUO) Media Explotiation Unit (MXU) Brian McCreary Capitol
McCreary_01                    x         CAP02_000010818 CAP02_000010820            3
                                                                                         Riot FBI Tip Submission




                                                                      Page 1 of 5
                                   Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 16 of 19
                                                      McCreary 21‐cr‐125, McCreary_Volume01


 VOLUME       SENSITIVE HIGHLY SENSITIVE BEGINBATES     ENDBATES          PAGECOUNT                            DESCRIPTION
                                                                                      (U//FOUO) 1610001410.87‐
McCreary_01                             CAP02_000010821 CAP02_000010821          1    1e8e6db09b07548f673bb9fc2601f7d2bee78b4d‐file‐
                                                                                      0_2of4_20210106_140957.mp4
                                                                                      (U//FOUO) 1610001410.87‐
McCreary_01                             CAP02_000010822 CAP02_000010822          1    1e8e6db09b07548f673bb9fc2601f7d2bee78b4d‐file‐
                                                                                      1_1of4_20210106_140817.mp4
                                                                                      (U//FOUO) 1610001849.52‐
McCreary_01                             CAP02_000010823 CAP02_000010823          1    e6d038b41671eace0088a2d559c8ffc6d9137916‐file‐
                                                                                      1_4of4_20210106_141821.mp4
                                                                                      (U//FOUO) 1610001849.52‐
McCreary_01                             CAP02_000010824 CAP02_000010824          1    e6d038b41671eace0088a2d559c8ffc6d9137916‐file‐
                                                                                      0_1of4_20210106_141307.mp4
                                                                                      (U//FOUO) 1610001410.87‐
McCreary_01                             CAP02_000010825 CAP02_000010825          1    1e8e6db09b07548f673bb9fc2601f7d2bee78b4d‐file‐
                                                                                      2_3of4_20210106_141147.mp4
                                                                                      (U) 0176‐BS‐
McCreary_01                             CAP02_000010826 CAP02_000010826          1
                                                                                      3372244_0000009_1A0000008_0000006_PHYSICAL.pdf
McCreary_01                    x        CAP02_000010827 CAP02_000010851          25   (U//FOUO) MXU_321‐274‐7672.pdf
                                                                                      (U//FOUO) 1610001410.87‐
McCreary_01                             CAP02_000010852 CAP02_000010852          1    1e8e6db09b07548f673bb9fc2601f7d2bee78b4d‐file‐
                                                                                      3_4of4_20210106_141218.mp4
                                                                                      (U//FOUO) 1610001849.52‐
McCreary_01                             CAP02_000010853 CAP02_000010853          1    e6d038b41671eace0088a2d559c8ffc6d9137916‐file‐
                                                                                      3_3of4_20210106_141616.mp4
McCreary_01      x                      CAP02_000010854 CAP02_000010855          2    (U//FOUO) Interview of XXXXXX XXXXX
                                                                                      (U//FOUO) Resized_IMG950728 Photo provided by XXXXXX
McCreary_01                             CAP02_000010856 CAP02_000010856          1
                                                                                      XXXXX.jpeg
                                                                                      (U//FOUO) 52169b7b‐9379‐4d8c‐a827‐7263aab635e7‐
McCreary_01                             CAP02_000010857 CAP02_000010857          1
                                                                                      AFP_AFP_8YA6MQ USA Today Photograph.jpg
McCreary_01      x                      CAP02_000010858 CAP02_000010859          2    (U//FOUO) _image_165959.pdf
McCreary_01      x                      CAP02_000010860 CAP02_000010862          3    (U//FOUO) Interview of XXXXXX XXXXX
McCreary_01      x                      CAP02_000010863 CAP02_000010866          4    (U//FOUO) _image_151257.pdf
                                                                                      (U//FOUO) 52169b7b‐9379‐4d8c‐a827‐7263aab635e7‐
McCreary_01                             CAP02_000010867 CAP02_000010867          1
                                                                                      AFP_AFP_8YA6MQ USA Today Photograph.jpg
McCreary_01                             CAP02_000010868 CAP02_000010868          1    (U//FOUO) IMG_0122.3gp
McCreary_01                             CAP02_000010869 CAP02_000010869          1    (U//FOUO) IMG_0121.3gp
McCreary_01                             CAP02_000010870 CAP02_000010870          1    (U//FOUO) Screenshot_20210112‐145817_Gallery.jpg



                                                                   Page 2 of 5
                              Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 17 of 19
                                                   McCreary 21‐cr‐125, McCreary_Volume01


 VOLUME SENSITIVE HIGHLY SENSITIVE   BEGINBATES        ENDBATES        PAGECOUNT                            DESCRIPTION
McCreary_01                          CAP02_000010871   CAP02_000010871      1    (U//FOUO) Screenshot_20210112‐145757_Gallery.jpg
McCreary_01                          CAP02_000010872   CAP02_000010872      1    (U//FOUO) Screenshot_20210112‐145710_Gallery.jpg
McCreary_01 x                        CAP02_000010873   CAP02_000010873      1    (U) Interview of XXXXX XXXXXX
McCreary_01 x                        CAP02_000010874   CAP02_000010874      1    (U//FOUO) Interview of XXXXX XXXXXX
McCreary_01 x                        CAP02_000010875   CAP02_000010876      2    (U) Interview of XXXXXX XXXXX
McCreary_01                          CAP02_000010877   CAP02_000010877      1    (U) USA Today Photograph.jpg
McCreary_01 x                        CAP02_000010878   CAP02_000010878      1    (U) 1261877530790490112_0‐1 Brian McCreary Tweet ID.jpeg
McCreary_01 x                        CAP02_000010879   CAP02_000010881      3    (U) Agent Interview Notes XXXXXX XXXXX163959.pdf
McCreary_01              x           CAP02_000010882   CAP02_000010883      2    (U//FOUO) Capitol Riot Videos with Brian McCreary
McCreary_01              x           CAP02_000010884   CAP02_000010884      1    (U//FOUO) IMG_1584.MOV
McCreary_01              x           CAP02_000010885   CAP02_000010885      1    (U//FOUO) IMG_1568.MOV
McCreary_01              x           CAP02_000010886   CAP02_000010886      1    (U//FOUO) IMG_1583.MOV
McCreary_01              x           CAP02_000010887   CAP02_000010887      1    (U//FOUO) January 6th 2021 Capitol Riot Video
McCreary_01              x           CAP02_000010888   CAP02_000010888      1    (U//FOUO) January 6th 2021 Capitol Riot Video
McCreary_01              x           CAP02_000010889   CAP02_000010889      1    (U//FOUO) IMG_1581.MOV
McCreary_01 x                        CAP02_000010890   CAP02_000010891      2    (U) Lead 2845 covered
McCreary_01 x                        CAP02_000010892   CAP02_000010892      1    (U) XXXXXX_lead_tweet.JPG
                                                                                 (U) Evidence Collection on 1/26/21 from 135 Cliff Street Apt. 1 N.
McCreary_01                          CAP02_000010893   CAP02_000010895      3
                                                                                 Adams MA
McCreary_01                          CAP02_000010896   CAP02_000010897      2    (U) Non‐Custodial Overt Interview
                                                                                 (U//FOUO) TTK Review ‐ Public Tip submitted through
McCreary_01   x                      CAP02_000010898   CAP02_000010899      2
                                                                                 http://www.fbi.gov/USCapitol
McCreary_01               x          CAP02_000010900   CAP02_000010903      4    (U//FOUO) 270121‐0913.pdf
                                                                                 (U) Interview of Brian McCreary Photograph Annotations, Debit
McCreary_01                          CAP02_000010904   CAP02_000010905      2
                                                                                 Card Information, Passwords, et al.
McCreary_01                          CAP02_000010906   CAP02_000010906      1    (U) Agent Interview Notes161252.pdf
McCreary_01                          CAP02_000010907   CAP02_000010907      1    (U) Annotated Photograph142824.pdf
McCreary_01                          CAP02_000010908   CAP02_000010908      1    (U) Search Warrant Return
McCreary_01                          CAP02_000010909   CAP02_000010920     12    (U) McCreary Search Warrant Return 120720.pdf
                                                                                 (U//FOUO) Search Warrant of 135 Cliff Street, Apartment 1, North
McCreary_01                          CAP02_000010921   CAP02_000010922      2
                                                                                 Adams, Massachusetts
McCreary_01                          CAP02_000010923   CAP02_000010923      1    (U//FOUO) Evidence Recovery Log.pdf
McCreary_01                          CAP02_000010924   CAP02_000010924      1    (U//FOUO) Search Warrant Execution Log.pdf
McCreary_01                          CAP02_000010925   CAP02_000010925      1    (U//FOUO) Crime Scene Sign‐In Log.pdf
McCreary_01                          CAP02_000010926   CAP02_000010928      3    (U//FOUO) Photo Log.pdf
McCreary_01                          CAP02_000010929   CAP02_000010929      1    (U//FOUO) Receipt for Property Seized.pdf
McCreary_01                          CAP02_000010930   CAP02_000010961     32    (U//FOUO) McCreary Search Warrant.pdf



                                                                   Page 3 of 5
                                   Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 18 of 19
                                                      McCreary 21‐cr‐125, McCreary_Volume01


 VOLUME       SENSITIVE HIGHLY SENSITIVE BEGINBATES       ENDBATES          PAGECOUNT                              DESCRIPTION
                                                                                        (U) 0176‐BS‐
McCreary_01                             CAP02_000010962 CAP02_000010962            1
                                                                                        3372244_0000022_1A0000019_0000007_PHYSICAL.pdf
McCreary_01                             CAP02_000010963   CAP02_000010964           2   (U//FOUO) Brian McCreary Search Warrant
McCreary_01                             CAP02_000010965   CAP02_000011029          65   (U//FOUO) McCreary_1.pdf
McCreary_01                             CAP02_000011030   CAP02_000011030           1   (U) Derivative Evidence on 02/02/2021 from RCFL Kajita
McCreary_01                             CAP02_000011031   CAP02_000011032           2   (U) Complaint and Arrest Warrant for Brian McCreary
McCreary_01                             CAP02_000011033   CAP02_000011034           2   (U) Complaint and Arrest Warrant for Brian McCreary
McCreary_01                             CAP02_000011035   CAP02_000011035           1   (U) signed‐‐21‐mj‐199 McCreary Complaint Redacted.pdf
McCreary_01                             CAP02_000011036   CAP02_000011037           2   (U) signed‐‐21‐mj‐199 McCreary Proposed Order to Seal.pdf
McCreary_01                             CAP02_000011038   CAP02_000011039           2   (U) signed‐‐21‐mj‐199 McCReary Warrant.pdf
McCreary_01                             CAP02_000011040   CAP02_000011040           1   (U) signed‐‐21‐mj‐199 McCreary Complaint.pdf
McCreary_01                             CAP02_000011041   CAP02_000011046           6   (U) signed‐‐21‐mj‐199 McCreary SOF.pdf
McCreary_01                             CAP02_000011047   CAP02_000011048           2   (U) signed‐‐21‐mj‐199 McCReary Warrant.pdf
                                                                                        (U) Arrest, Booking, DNA Sample, Custodial Interview of Brian
McCreary_01                             CAP02_000011049 CAP02_000011050            2
                                                                                        Patrick McCreary
McCreary_01                             CAP02_000011051   CAP02_000011051           1   (U) McCreary FD‐395141238.pdf
McCreary_01                             CAP02_000011052   CAP02_000011052           1   (U) Agent Notes 2.4.21141307.pdf
McCreary_01                             CAP02_000011053   CAP02_000011054           2   (U) Custodial Interview
McCreary_01                             CAP02_000011055   CAP02_000011059           5   (U//FOUO) Brian McCreary Digital Evidence Review
McCreary_01                             CAP02_000011060   CAP02_000011060           1   (U//FOUO) Transcript of 1/26/2021 Interview of Brian McCreary
McCreary_01                             CAP02_000011061   CAP02_000011120          60   (U//FOUO) Transcript of 1/26/2021 Interview of Brian McCreary
McCreary_01                             CAP02_000011121   CAP02_000011180          60   (U//FOUO) McCreary Interview Transcript 1‐26‐2021.docx
McCreary_01                             CAP02_000011181   CAP02_000011181           1   (U) Search Warrant Return
McCreary_01                             CAP02_000011182   CAP02_000011182           1   (U) Brian McCreary Arrest Warrant Return084839.pdf
McCreary_01                             CAP02_000011183   CAP02_000011183           1   (U) Derivative Evidence on 02/18/2021 from RCFL Kajita
McCreary_01                             CAP02_000011184   CAP02_000011184           1   (U) Indictment of Brian McCreary
McCreary_01                             CAP02_000011185   CAP02_000011187           3   (U) Indictment of Brian McCreary
McCreary_01                             CAP02_000011188   CAP02_000011190           3   (U) Brian McCreary_Filed Indictment_2.17.21.pdf
McCreary_01      x                      CAP02_000011191   CAP02_000011192           2   (U) Covered lead
McCreary_01      x                      CAP02_000011193   CAP02_000011194           2   (U) Covered lead
McCreary_01      x                      CAP02_000011195   CAP02_000011198           4   (U) Lead Covered
McCreary_01                             CAP02_000011199   CAP02_000011199           1   (U//FOUO) Transcript of 2/4/2021 Interview of Brian McCreary
McCreary_01                             CAP02_000011200   CAP02_000011226          27   (U//FOUO) Transcript of 2/4/2021 Interview of Brian McCreary
McCreary_01                             CAP02_000011227   CAP02_000011253          27   (U//FOUO) McCreary Arrest Interview Transcript #2.docx
McCreary_01                    x        CAP02_000011254   CAP02_000011257           4   (U//FOUO) 2021‐03‐10_16h22m55s.pdf
                                                                                        (U//FOUO) TTK Review ‐ Public Tip submitted through
McCreary_01                    x        CAP02_000011258 CAP02_000011259            2
                                                                                        http://www.fbi.gov/USCapitol



                                                                     Page 4 of 5
                              Case 1:21-cr-00125-BAH Document 23 Filed 07/12/21 Page 19 of 19
                                                   McCreary 21‐cr‐125, McCreary_Volume01


 VOLUME SENSITIVE HIGHLY SENSITIVE   BEGINBATES        ENDBATES        PAGECOUNT                           DESCRIPTION
McCreary_01              x           CAP02_000011260   CAP02_000011265     6     (U//FOUO) 2021‐03‐08_22h10m33s.pdf
McCreary_01 x                        CAP02_000011266   CAP02_000011266     1     (U//FOUO) Interview of XXXXXX
McCreary_01 x                        CAP02_000011267   CAP02_000011268     2     (U) XXXXXXXX ‐ Subject
McCreary_01 x                        CAP02_000011269   CAP02_000011269     1     (U) XXXX_XXXXXXXX_from_Wash_Post.jpg
McCreary_01 x                        CAP02_000011270   CAP02_000011270     1     (U) XXXX_XXXXXXXX_‐_New_Republic.jpeg
McCreary_01                          CAP02_000011271   CAP02_000011271     1     (U) Brian_Mccreary‐Blue_Mask.jpg
McCreary_01                          CAP02_000011272   CAP02_000011272     1     (U) Brian_McCreary_‐_Facebook.jfif
                                                                                 (U//FOUO) TTK Review ‐ Public Tip submitted through
McCreary_01               x          CAP02_000011273   CAP02_000011274     2
                                                                                 http://www.fbi.gov/USCapitol
McCreary_01               x          CAP02_000011275   CAP02_000011278     4     (U//FOUO) 022621‐1614.pdf
McCreary_01   x                      CAP02_000011279   CAP02_000011280     2     (U) Interview with XXXX
McCreary_01   x                      CAP02_000011281   CAP02_000011281     1     (U) c81849be4af711c9478b8047fa945144.MOV
McCreary_01   x                      CAP02_000011282   CAP02_000011286     5     (U//FOUO) Coverage of Lead 8005
McCreary_01               x          CAP02_000011287   CAP02_000011290     4     (U//FOUO) TTK Review
McCreary_01               x          CAP02_000011291   CAP02_000011294     4     (U//FOUO) 190121‐1917.pdf
McCreary_01                          CAP02_000011295   CAP02_000011296     2     (U//FOUO) Lead Coverage Re: XXXXXXXX
                                                                                 (U//FOUO) TTK Review ‐ Public Tip submitted through
McCreary_01               x          CAP02_000011297   CAP02_000011298     2
                                                                                 http://www.fbi.gov/USCapitol
McCreary_01               x          CAP02_000011299   CAP02_000011302     4     (U//FOUO) 03082021‐0817.pdf
                                                                                 (U//FOUO) TTK Review ‐ Public Tip submitted through
McCreary_01               x          CAP02_000011303   CAP02_000011304     2
                                                                                 http://www.fbi.gov/USCapitol
McCreary_01               x          CAP02_000011305   CAP02_000011308     4     (U//FOUO) 022621‐1618.pdf
                                                                                 (U//FOUO) On 02/04/2021 at 10:34p.m. Eastern Time,
McCreary_01   x                      CAP02_000011309   CAP02_000011309     1
                                                                                 XXXXXXXXXX, date of birth XX/XX/XXXX,
McCreary_01   x                      CAP02_000011310   CAP02_000011310     1     (U) Photograph.PNG

McCreary_01                          CAP02_000011311   CAP02_000011311          1   (U//FOUO) Brian McCreary Lunch
McCreary_01                          CAP02_000011312   CAP02_000011313          2   (U//FOUO) Brian McCreary Lunch
McCreary_01                          CAP02_000011314   CAP02_000011314          1   (U//FOUO) _image_090319.pdf
McCreary_01                          CAP02_000011315   CAP02_000011316          2   (U//FOUO) FD‐794_BS_1.8 (003) McCreary Lunch Receipt.pdf




                                                                  Page 5 of 5
